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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

   UNITED STATES OF AMERICA,
                  – v. –
   KEITH J. GRAY                                                     No. 3:24-cr-250

               Defendant.




                 DEFENDANT KEITH J. GRAY’S UNOPPOSED MOTION TO
                   EXTEND THE DEADLINE TO SUBSTITUTE COUNSEL

        Defendant Keith J. Gray (“Mr. Gray”) hereby gives notice and respectfully requests a

fourteen (14) day extension of the Court’s deadline to substitute counsel from March 5, 2025 to

March 19, 2025, and in support states as follows:

        1.        On June 28, 2024, Ryan J. Meyer filed a limited notice of appearance for Mr.

Gray solely for the purposes of his initial appearance, including determining his conditions of

release and/or detention. See Dkt. No. 9. Magistrate Judge Toliver granted Mr. Meyer’s limited

appearance and instructed Mr. Gray to retain counsel for his criminal case shortly.

        2.        Mr. Meyer has not otherwise been involved with Mr. Gray’s case since his Initial

Appearance. Indeed, the Government has not provided even provided Mr. Meyer with discovery

in the case.

        3.        On July 12, 2024, Scottie D. Allen (“Mr. Allen”) filed a notice of appearance on

behalf of Mr. Gray. See Dkt. No. 12.

       4.        On February 3, 2025, Mr. Allen filed a Motion to Withdraw as counsel for Mr.

Gray. See Dkt. No. 36.

       5.        The Court subsequently granted Mr. Allen’s Motion to Withdraw on February 3,

2025. See Dkt. No. 37. The Court then notified Mr. Meyer that it now considered him counsel of
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record for Mr. Gray. At the same time, the Court entered an order notifying Mr. Gray that he had

until March 5, 2025, to retain additional counsel and Mr. Meyer had until March 5, 2025 to file a

motion to withdraw. Dkt. No. 40.

       6.      As previously noted in Mr. Meyer’s Motion to Withdraw (Dkt. No. 41), Mr. Gray

has been diligently seeking new counsel since February 3, 2025. Mr. Gray is now in advanced

discussions with potential new counsel, but such counsel is currently in trial in the Eastern District

of Texas.

        7.     As a result of their trial obligations, Mr. Gray’s potential new counsel need

 additional time to complete the engagement, which process Mr. Gray reasonably believes can be

 completed by March 19, 2025. There are no other pending deadlines in this case, and this

 withdrawal can be accomplished without material adverse effect on Mr. Gray’s interests.

        8.     This motion to extend the deadline to substitute counsel is requested in good faith

 and not sought for delay or any other improper purpose.

        9.      No party will be prejudiced by allowing this brief continuance.

        10.     Counsel has conferred with the Government and the Government is unopposed to

 this brief continuance.

        WHEREFORE, for the reasons stated above, Keith J. Gray respectfully requests that the

 Court grant a fourteen (14) day extension of his deadline to substitute counsel from March 5,

 2025 to March 19, 2025.




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Dated: March 5, 2025                  Respectfully submitted,

                                      /s/ Ryan J. Meyer
                                      Ryan J. Meyer (Texas Bar No. 24088053)
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                                      Dallas, Texas 75201
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                                      Counsel for Keith J. Gray




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                             CERTIFICATE OF CONFERENCE

       I hereby certify that I have conferred with counsel for the Government regarding the above

motion and counsel for the Government is unopposed to the requested relief.


                                                          /s/ Ryan J. Meyer
                                                          Ryan J. Meyer


                                  CERTIFICATE OF SERVICE

   I hereby certify that on March 5, 2025, I caused copies of the foregoing UNOPPOSED

MOTION TO WITHDRAW to be served on all counsel of record by filing electronic copies with

the Clerk of the Court using the CM/ECF system, which will send notification of such filing to all

registered CM/ECF users.

                                                                                 /s/ Ryan J. Meyer

                                                                                   Ryan J. Meyer




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